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                              Exhibit A
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           Defendants’ Proposed Additional Instructions Relevant to “Unlawful Conduct”

                                       Unlawful Conduct—Distribution

There are two regulations at issue in this case.

The first regulation includes a list of security requirements for registered distributors who ship
controlled substances to pharmacies. It provides that substantial compliance with the standards set
forth in the regulation may be deemed sufficient. These security requirements include that a
registered distributor shall design and operate a system to identify suspicious orders of controlled
substances placed by pharmacies and shall inform the U.S. Drug Enforcement Administration of
suspicious orders when discovered by the distributor.

Suspicious orders include orders of unusual size, orders deviating substantially from a normal
pattern, and orders of unusual frequency.

This regulation does not pertain to the filling of prescriptions for patients; it pertains only to
shipments to pharmacies by registered distributors.1




1
    21 C.F.R. §§ 1301.71(a)-(b), 1301.74(b).
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                                Unlawful Conduct—Dispensing

The second regulation at issue in this case applies to the filling of controlled substance
prescriptions for patients. It states that a doctor, or other registered prescriber, may only issue a
controlled substance prescription for a legitimate medical purpose in the usual course of her or his
professional practice.

It further provides that the responsibility for the proper prescribing and dispensing of controlled
substances is upon the prescribing practitioner, but a corresponding responsibility rests with the
pharmacist who fills the prescription.

It states that a person who knowingly fills a prescription that was not issued by a doctor or other
prescriber for a legitimate medical purpose in the usual course of the prescriber’s practice shall be
subject to penalties under the Controlled Substances Act.2




2
    21 C.F.R. § 1306.04(a).
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                                Unlawful Conduct—Substantial Compliance

The two regulations at issue in this case do not require strict compliance. Only substantial
compliance is required.3

Not every act that is in violation of the two regulations I have described to you can cause a public
nuisance. Only unlawful conduct that causes a significant interference with a public right to health
or safety can be a public nuisance.4




3
    Dkt. 3913 at 5 (citing 21 C.F.R. § 1301.71(b); OAC-4729-9-05); see also id. at 6 & n.8.
4
 OJI 621.09 Regulated activity, cmt.; RESTATEMENT (SECOND) OF TORTS § 821B, cmt. f; Brown v. Scioto Cty. Bd.
of Commrs., 87 Ohio App. 3d 704, 713 (1993).
